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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Travelers Property Casualty Company of
America
                                                  Plaintiff,
v.                                                             Case No.: 1:17−cv−09195
                                                               Honorable Joan B. Gottschall
D/C Export & Domestic Packing, Inc.
                                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 13, 2018:


        MINUTE entry before the Honorable Joan B. Gottschall: Pursuant to the plaintiff's
notice of voluntary dismissal [7], this case is dismissed without prejudice. The parties
shall bear their own costs and fees. The status hearing set for 2/28/18 is stricken. Civil
case terminated. Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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